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1 IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
2 ORLANDO DIVISION
3 Case no.: 6:07-cr-97-Orl-18DAB
4 |} UNITED STATE OF AMERICA, } Orlando, Florida
) July 11, 2007
5 Plaintiff, ) 2:00 p.m.
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6 Ve ) ofc 3
) ary S
7 || LOUIS J. PEARLMAN, ) BES G?
SE:4 do
8 Defendant. ) Qe
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Transcript of initial appearance and

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ee Arraignment on Indictment
, ‘ 13
‘. before the Honorable Donald P. Dietrich
Be 14

United States Magistrate Judge
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16

17 |] Appearances:

18 |]Counsel for Plaintiff: Roger Handberg

19
Counsel for Defendant: Fletcher Peacock
20 James T. Skuthan
21
Tape transcriptionist: Diane C. Peede, RMR, CRR
22

United States Courthouse

80 North Hughey Avenue, #300
23 Orlando, Florida 32801

(321) 537-2130

am 24

7 ‘ Proceedings recorded by tape recording, transcript produced
25 by computer.

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oe 1 PROCEEDINGS
2 THE COURTROOM DEPUTY: Case number: 6:07-cr-97-
3 Orl-18DAB, United States of America versus Louis J. Pearlman.
4 Counsel, please state your appearances for the
5 record.
6 MR. HANDBERG: Good afternoon, Your Honor. Roger

7 {| Handberg on behalf of the United States. With me at counsel

8 table is Scott Skinner with the F.B.I.; and behind us is John

 

9 Crawford with the Federal Deposit Insurance Corporation,

10 Inspector General's Office; Daniel Brooks with the State of
11 Florida; and Annette Walden with the Internal Revenue

12 Service.

13 THE COURT: Thank you.

14 MR. PEACOCK: Good afternoon, Your Honor. Fletcher

15 Peacock here on behalf of the Federal Public Defender's
16 |} Office. With me is James T. Skuthan, the Chief Assistant

17 Federal Public Defender.

18 THE COURT: Very well.

19 The appearance of the Federal Public Defender,

20 of course, is provisional pending further order of the Court.
21 We proceed on the initial appearance of Louis

22 Pearlman before this Court, on his having earlier been held
23 to answer in the U.S. District Court for the District of Guam

and ordered removed.

 

On review of the record of proceedings there in the

 

 

 
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oe 1 District of Guam, I find that the defendant was appointed --
2 or was represented, rather, by counsel appointed by the Court
3 under the Criminal Justice Act; and this would, of course, be
4 predicated on his not waiving counsel and his having been
5 | found financially eligible therefor.
6 The Court is prepared to continue such
7 representation under the Criminal Justice Act, specifically
8 authorizing the Federal Public Defender to represent him in
9 all proceedings in this court, including trial, surmising
10 that there's been no change in his financial circumstances
11 from the proceedings there in Guam while en route to here.
12 What does the Federal Public Defender have to say
13 or offer in support of his serving in this case on
14 appointment?
15 | MR. PEACOCK: May I have just one minute, Your
‘| Honor?
17 THE COURT: Sure.
18 i (Discussion held off the record.)
19 MR. PEACOCK: Your Honor, I can represent to the
20 | Court that the circumstances have not changed. Mr. Pearlman
21 has filed an affidavit. I would ask that it be done in
22 || camera, as it was done in Guam; and we would ask that the
23 appointment be continued with our office. If the Court needs
o 24 more reasoning, I can provide it; but that's satisfactory at
25 this time for me.

 

 

 
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1 THE COURT: Treating appointment under the Criminal
2 Justice Act as a matter involving the judiciary's
3 I appropriation, I nonetheless inquire of the U.S. Attorney if
4 he has a position in this regard?
5 MR. HANDBERG: Your Honor, at this point we don't
6 || object to the continued representation of Mr. Pearlman by the
7 | Federal Public Defender's Office.
8 THE COURT: It would allow for continuity of
9 representation, of course.
10 MR. HANDBERG: Yes. And the issue that they -- I
11 have not obviously seen the affidavit that was submitted in
12 camera in Guam, so I don't know what that purports to
13 represent. The issue, obviously, in Mr. Pearlman's situation
14 is whether he has means somewhere; and we are in the process
| of trying to sort that out and see to what extent --
16 THE COURT: Well, do you know of any funds that are
17 presently available to him for purposes of obtaining
18 representation?
19 MR. HANDBERG: None that I could certify to Your
20 Honor at this point. There are a number of leads that we're
21 following up on. But I would also say to Your Honor that in
22 addition to anything that may be forfeited pursuant to a
23 criminal statute by my office, I know that there's an active
bankruptcy trustee that is attempting to find Mr. Pearlman's
assets and appropriate them and there's a number of

 

 

 

 
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creditors.

So I think it's a situation, as I understand it
right now, to the extent that assets are found, there's going
to be claims laid to those assets. So I don't know if he has
assets that he would be able to use to retain counsel, with a
couple of exceptions. I know that -- and that's what's so
confusing about his situation. He does have a band in Europe
called US 5, which presumably has an income stream to which
he has some entitlement, which may be a legitimate source of
income.

So there's factors going on on both sides, but at
this point our position is to not oppose the appointment --
or the continued representation of the Federal Public
Defender without prejudice, if we should find sufficient
evidence to raise the matter with the Court again, to do so.

THE COURT: Mr. Peacock, is he the subject of
involuntary petitions for bankruptcy pending in the
bankruptcy court for this district?

MR. PEACOCK: I believe he is, Your Honor.

THE COURT: He personally?

MR. PEACOCK: Judge, I'm not totally familiar with
the bankruptcy, but I believe he is.

MR. HANDBERG: He is, Your Honor. I can certify
it.

THE COURT: All right. And, of course, the

 
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government has knowledge of search warrants having been
allowed in seizures thereunder --

MR. HANDBERG: Yes.

THE COURT: -- of property, including property at
his residence?

MR. HANDBERG: Yes. Search warrants were executed
at his residence and his businesses.

THE COURT: Of course, not for us generally, but
for matters and things subject to seizure --

MR. HANDBERG: Yes.

THE COURT: -- under the language of the
application and the writ that was allowed?

MR. HANDBERG: Correct.

THE COURT: Finally, you've got general and
specific allegations, forfeiture allegations, in the
Indictment that was in the intervening time returned or not?

MR. HANDBERG: We do have the general allegations.
In the Indictment, there is not any property specifically
identified for forfeiture, and no Bill of Particulars has
been filed.

THE COURT: Well, noting again now that he's been
detained on removal, so he's had no freedom to handle his
affairs since having been held to answer, and the
representation that, to counsel's knowledge, there's been no

change in his circumstances since then, when the Court found

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oe 1| him eligible, and although we're talking about an appointment
2 which would carry him through from arraignment to trial,

3 preparation for trial involves the need to have investigative
4 services, the need to have experts, the need to have other

5 services in order to prepare for trial, I'm satisfied that I
6 | have made an appropriate inquiry, which is all the statute

7 requires, to allow for representation under the Criminal

 

 

8 Justice Act.
9 There are provisions in the statute, 3006(a), which
10 are relevant if circumstances should change. For example, at

11 3006(a) (C), it provides that if any time after the

 

12 appointment of counsel the court finds the person is
13 financially able to obtain counsel or to make partial payment
14 for the representation, it may terminate the appointment of
15 counsel or authorize payment as provided for in subsection F,
16 as the interests of justice may dictate.

}
17 F provides whenever the United States court finds
18 that the funds are available for payment from or on behalf of
vel a person furnished representation and may authorize or direct

20 fj that such funds be paid to the appointed attorney by

 

 

 

21 association, defender, et cetera, et cetera, or to the court

22 for deposit in the treasury as a reimbursement to the

23 appropriation current at the time of payment to carry out the
em 24 provisions of this secretary -- of this section.

25 | Well, what we have again here is a case and a

 
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statute which provides that in every case, when a person
appears without counsel and does not waive counsel, if the
court is satisfied after appropriate inquiry, then counsel
will be appointed under the Act.

I signed the order and the Defender is appointed in
the case.

MR. PEACOCK: Thank you, Judge.

THE COURT: It would occur to me that the defendant
would be free to appear before the bankruptcy court and state
a claim and pursue any priority status that either the
Criminal Justice Act may allow, the plan of this court may
allow or the current appropriation may allow in preference to
other claims that may previously have been filed with the
court, the bankruptcy court.

MR. PEACOCK: I'll certainly take that into
consideration, Your Honor.

THE COURT: As you are advised.

Now, on further review of the record of proceedings
there in the District of Guam, it is noted that the defendant
did not oppose his removal but reserved the right to have
preliminary examination on the criminal complaint at the time
pending.

Of course, in the intervening time now, a grand
jury of this court has returned an Indictment, correct.

MR. HANDBERG: That's correct, Your Honor.

 
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THE COURT: Have copies been provided? Is the
defender aware of the Indictment of the court -- of the grand
jury?

MR. PEACOCK: Yes, sir.

THE COURT: And you have copies and Mr. Pearlman
has been provided with such copies?

MR. PEACOCK: Yes, sir.

THE COURT: So there's no need for and no
entitlement to preliminary examination under Rule Five.

MR. PEACOCK: We'll still do one, Judge, if you
want to have one.

THE COURT: Again, we proceed on initial appearance
then as to the Indictment. Would the United States Attorney
summarize the charge or charges made by the grand jury in
this case at this time.

MR. HANDBERG: Yes, Your Honor. Mr. Pearlman is
charged in a five-count Indictment. The first three counts
allege a scheme to defraud federally insured financial
institutions of over $100 million.

There are three executions of the scheme to defraud
set forth on pages seven and eight of the Indictment, and
those are all alleged in violation of Title 18, United States
Code, Section 1344, and the aiding and abetting statute,
Section Two.

Count Four is a mail fraud count as part of a

 
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1 scheme to defraud also with respect to federally insured
2 financial institutions. There's one count alleged in Count
3 Four set forth on page nine, a violation of Title 18, United

4 States Code, Section 1341, and again the aiding and abetting
5 statute.

6 Count Five is a wire fraud charge set forth on

7 pages ten and eleven, charging a violation of Title 18,

8 United States Code, Section 1343, and Section Two, the aiding

9 and abetting statute.

 

10 The bank fraud charges are each punishable by terms
11 of imprisonment of up to 30 years and a million dollar fine.
12 The mail and wire frauds carry maximum penalties of 20 years
13 each.

14 THE COURT: Is there a count of the Indictment

15 which subsumes the charge by complaint? Is that Count One?

16 MR. HANDBERG: It is Count One, Your Honor.

17 THE COURT: Subject to your pleas, Mr. Pearlman,

18 | you are advised that you're not required to answer any

19 question or make any statement about these charges. You have
20 | the right to remain silent. Anything you would say or

21 previously have said could be used against you at trial.
22 Whether anything you may previously have said or
23 admitted to could be used against you at trial would be

eo 24 decided at the trial as part of the trial.

25 You're also advised of your right to retain

 

 

 
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1 counsel, if your circumstances permit, if you wish to be
2 represented by an attorney of your choice, or to request that
3 counsel be appointed if the defendant cannot obtain counsel.
4 Such has been accomplished.
5 Finally, you have the right to be admitted to
6 reasonable bail unless a legal basis is shown for your
7 detention pretrial.
8 What is the government's position in this regard?
9 MR. HANDBERG: Your Honor, we continue the
10 application that I understand was made in Guam that he be
11 detained pending trial on the grounds that there's a serious
12 risk that he will flee.
13 | THE COURT: On which grounds?
14 MR. HANDBERG: On the grounds that he's a serious
15 |] risk of flight.
16 | THE COURT: Do we have a Pretrial Services' report,
17 | Mr. Chatman?
18 PROBATION OFFICER CHATMAN: (Unintelligible) the
19 report, Your Honor. The defendant declined to be interviewed
20 on the advice of his attorney.
21 THE COURT: But you have filed with the court that
22 which you received from Guam?
23 PROBATION OFFICER CHATMAN: Correct, Your Honor.
THE COURT: Do you have a copy of it yourself?
PROBATION OFFICER CHATMAN: TI do.

 

 

 

 
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THE COURT: Has a copy been provided the counsel
for the defense?

MR. PEACOCK: Yes, sir.

THE COURT: Any comment on the factual matters and
things set out?

MR. PEACOCK: No, sir.

THE COURT: Any objection to it being made part of
the record?

MR. PEACOCK: In camera, Your Honor, that would be
fine.

THE COURT: Well, this was a report received under
seal, also?

PROBATION OFFICER CHATMAN: Yes, Your Honor.

THE COURT: Are you ready for a detention hearing?

MR. PEACOCK: Your Honor, we are not prepared yet.
We have not had adequate time to talk with Mr. Pearlman.

So what I would request of the Court is time to do
that and allow us to come back, inform the Court on what our
position would be in regard to the detention hearing.

THE COURT: Well, I think I'm aware of your
position.

MR. PEACOCK: You probably are, yes, sir.

THE COURT: What proffer does the government make
with respect to detention at this time?

MR. HANDBERG: A number of things, Your Honor.

 
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on 1 First of all, the fact that Mr. Pearlman would not be
2 consented -- would not consent to an interview with Pretrial
3 |] Services, as I understand is the case, on advice of counsel,
4 but the fact that he wouldn't be interviewed by the branch
5 that would be supervising him under the circumstances where
6 he was granted bond is a very disturbing fact in and of
7 itself.
8 MR. PEACOCK: I object to that, Your Honor. His
9 right to remain silent should not be used against him,
10 especially on the advice of counsel.
11 THE COURT: Well --
12 MR. HANDBERG: Well, but the --
13 THE COURT: -- objection overruled. It's just an
14 observation on the part of the government, and I'll hear it.
15 MR. HANDBERG: Well, and I'm not talking about
16 questions related to the matters under Indictment. I mean,
17 just the general questions that Pretrial Services asked him.
18 It's the practice of Pretrial Services not to ask about the
19 |} case, but where do you live? What are your family ties to
20 the community?
21 THE COURT: Well, as a practical matter, he's not
22 amenable to supervision if Pretrial Services has no file on
23 him.
om 24 MR. HANDBERG: Correct. And so I think on that
25 basis alone -- he could be detained on that basis alone.

 

 

 
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1 In this case, he left January 26th of this year.
2 | He went to Germany. He left because the world, as he knew
3 it, was falling apart. Creditors were after him. Bank loans
4 were in default. The State was investigating him related to

5 an investment program. So he left. He left on the 26th and

6 he's never come back.

7 In the time that he's gone, he's been to Indonesia.

8 According to his passport, he's been to Panama. When he was

9 found in Indonesia by the authorities there, he was

10 registered at the hotel as A. Incognito Johnson. He was

11 using a credit card that belonged to someone else with the

12 name of Johnson.
Oo 13 He had $20,000 in cash on him. He had on his

14 person documents related to getting residence in Panama, a

15 place, again, that he had already visited.

16 People who knew about the circumstances of his

17 departure talked about him signing over cars, bank accounts,
18 making every indication that he was leaving and not coming
19 back.

20 He appears to have some means. Like I mentioned

21 before, he's got a group in Europe called US 5. Presumably,

22 he's got some income stream from that.
23 When he was apprehended by the Indonesian

24] authorities, he didn't have his passport on his person. His

25 | passport was at a local business that appears to have some

 

 

 
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1 relation with him.

2 He has made efforts, based on the documents that

3 | were seized by the Indonesian authorities, to be trying to

4 get money from condos that he had and getting support from

5 other people. So he's got sources of income that he could

6 use to flee this jurisdiction should he be given bond.

7 I mean, there's a myriad of other factors as well,
8 Your Honor, but this is a case of someone who fled when

9 things were going bad and was brought back just through a
10 fortuitous circumstance of being found in Indonesia and being
|| deported to the United States.

12 THE COURT: Response.

e 13 MR. PEACOCK: Your Honor, as I said, we're not
us| prepared to go forward. We would ask that the Court defer
15 the detention hearing until such time as we would request

i]
16 one.
17 MR. HANDBERG: And the United States has no
| objections, obviously, to the waiver of the hearing, to have
19 it on short notice at a later date.
20 THE COURT: Very well. There's a showing in
21 support of a temporary order of detention, and the same is
22 given the Marshal.
23 Would you be ready by Friday?
24 MR. PEACOCK: I doubt it, Your Honor. I honestly
25 don't know. We have had no time to speak with Mr. Pearlman

 

 

 
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as his counsel.

MR. HANDBERG: And I don't know if this is what Mr.
Fletcher was looking for. I know it's the practice that a
defendant at the initial detention hearing can waive without
prejudice to bring it back up on a motion. And I think --
that's what I meant when I said I had no objection, which
wouldn't impose the five-day continuation period, but would
allow them, once they're able to collect the evidence they
need to re-open the issue, should they find evidence would
give them a basis for.

MR. PEACOCK: That's correct, Judge.

THE COURT: Well, then, you're not really opposing
an order of detention as long as you have leave to renew or
re-open the hearing on evidence then available to you,
correct?

MR. PEACOCK: Yes, Your Honor.

THE COURT: I misunderstood. Temporary order of
detention made final, and I'll hear you on short notice as a
magistrate or the assigned magistrate judge, Judge Baker --

MR. PEACOCK: Yes, sir.

THE COURT: -- when you're ready to go forward.

MR. PEACOCK: Thank you.

THE COURT: Finally, let's proceed to arraignment
pursuant to Rule Ten, if there's no objection, making it

unnecessary to reconvene on short notice for that purpose,

 
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1 understanding, however, that a trial date will be set in time
2 allowed for the filing of motions. Your response.

3 MR. PEACOCK: Very well, Your Honor. At this time,
4 Your Honor, in an abundance of caution, in order to -- in

5 | order not to waive any potential issues of jurisdiction, I

6 would stand mute and Mr. Pearlman would stand mute to the

7 Indictment.

8 THE COURT: Does he wish to have the substantive
9 charges of the Indictment read to him in order court?
10 MR. PEACOCK: No, Your Honor. As I noted before,

| we have a copy of the Indictment. I have provided Mr.

12 Pearlman with a copy of the Indictment, and we understand it

 

13 quite well.

14 THE COURT: The Court proceeds to arraignment

15 nonetheless, noting pursuant to Rule Ten that he has a copy
16 of the Indictment. The reading thereof having been waived, I

17 ask the defendant how he pleads, guilty or not guilty?

18 MR. PEACOCK: Your Honor, once again, in order not
19 to waive any jurisdictional issues that may arise or
20 | arguments in that regard, we would stand mute to the

21 Indictment.
22 i THE COURT: The defendant having been arraigned,

23 pleas of not guilty are entered for him.

 

 

o 24 I'm entering a scheduling order, criminal

 

25 | scheduling order, in accordance with the practice of the
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1 court. It sets the case for criminal jury trial before the
2 Honorable G. Kendall Sharp, United States District Judge, on
3 the term commencing September 4, 2007, nine a.m. or as soon
4 thereafter as the case is called. Time allowed for the
5 filing of motions or giving of notice in accordance with the
6 Federal Rules of Criminal Procedure as set out.
7 Today is the lith?
8 THE COURTROOM DEPUTY: Yes.
9 THE COURT: The 11th.
10 Any questions? Any applications on his behalf?
11 MR. PEACOCK: No, sir.
12 THE COURT: Is the government satisfied with the
13 record?
14 | MR. HANDBERG: Yes, Your Honor. Thank you.
15 | THE COURT: Thank you for your time and attention.
16 (Proceedings were terminated at 2:25 p.m.)
Wy eee
18 Reporter's Certification
19 I certify that the foregoing is a correct transcript from the
20 record of proceedings in the above-entitled matter.
21
22
23 Diane Peede, RMR, CRR
Official Court Reporter
24 United States District Court
os Date: \- 2007] Middle District of Florida

 
